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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case Number 1:21-cr-00053-CJN
EDWARD JACOB LANG,                           :
                                             :
                      Defendant.             :

                       DECLARATION OF INGRID WASHINGTON


I, Ingrid Washington, hereby state:

1. I am currently employed at the Washington, D.C., Department of Corrections (“DOC”), where
   I work as a Legal Instruments Examiner in the Litigation Support Unit. I have held that position
   since January 7, 2007.

2. I am currently assigned to DOC’s Central Detention Facility (“CDF”). As a Legal Instruments
   Examiner my responsibilities include administering the DOC’s Voluminous or Electronic
   Evidence Review program by, among other things, (i) receiving CDs, DVDs, and USB flash
   drives from defense counsel, (ii) maintaining a DOC Inmate Discovery Waiting List, and
   (iii) distributing and collecting DOC discovery laptops and CDs, DVDs, and USB drives from
   inmates.

3. CDs, DVDs, and USB flash drives are considered contraband by DOC, and inmates are not
   permitted to possess them. A narrow exception to this rule exists to allow DOC inmates the
   privilege of reviewing electronic discovery (on CDs, DVDs, and USB flash drives delivered
   to the DOC by their attorney) on a laptop computer (provided by DOC). Because of the limited
   number of DOC laptop computers, I keep a waitlist for inmates seeking to participate in the
   electronic review process. When it is an inmate’s turn, that inmate is provided with a DOC
   laptop for a two-week period. If there is no one else currently on the waitlist, that inmate can
   continue to use the DOC laptop for a longer period of time.

4. Inmates can also review discovery with their attorney during in-person visits. Attorneys can
   visit their clients 24 hours a day and seven days a week. Likewise, inmates can meet with
   counsel via video conferencing on Fridays, and each inmate can make unmonitored legal calls
   to their attorneys.

5. All inmates at DOC are permitted to keep with them up to two banker’s boxes of hardcopy
   paper discovery.

6. DOC does not accept deliveries from either United Parcel Service (“UPS”) or Federal Express
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   (“FedEx”). Discovery delivery options are limited to in-person drop-offs or United States
   Postal Service (“USPS”) mail.

7. Based on my experience in the DOC Litigation Support Unit, I understand that packages
   shipped via UPS will not be accepted and would be returned to sender. For that reason, I would
   not advise anyone to mail a package to DOC via UPS. I can only recall stating that USPS is
   the option for sending discovery material.

8. It appears that the Litigation Support Unit received inmate Lang’s electronic discovery on two
   hard drives on October 12, 2021. Inmate Lang was provided with his discovery and issued a
   DOC laptop on November 10, 2021. On June 12, 2023, the Litigation Support Unit received a
   request slip from inmate Lang. He was added back to the waiting list to review his discovery
   on June 12, 2023 and was afforded access to all of his discovery in DOC’s possession on July
   25, 2023 (along with a DOC laptop computer).

9. The Litigation Support Unit has not received additional discovery for inmate Lang in 2023.




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